
Active Care Medical Supply Corp., as Assignee of Guzman, Angel, Appellant,
againstTravelers Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Law Office of Aloy O. Ibuzor (Theresa Carrubba, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Ulysses Bernard Leverett, J.), entered July 22, 2014. The order granted defendant's motion for summary judgment dismissing the complaint.




ORDERED that the order is reversed, with $30 costs, and defendant's motion for summary judgment dismissing the complaint is denied.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff appeals from an order of the Civil Court which granted defendant's motion for summary judgment dismissing the complaint on the ground that the action is premature because plaintiff had failed to provide requested verification.
For the reasons stated in Pierre Jean Jacques Renelique, as Assignee of Nathalia Brown v American Tr. Ins. Co. (___ Misc 3d ____, 2017 NY Slip Op ______ [appeal No. 2014-1538 Q C], decided herewith), the order is reversed and defendant's motion for summary judgment dismissing the complaint is denied.
PESCE, P.J., ALIOTTA and SOLOMON, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 11, 2017










